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                EXHIBIT 2
  (Notification of Calculation Errors
           on Sept. 12, 2024)
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                                                                                    September 12,2024

Dear Sir or Madam,

Pursuant to the CMS Memorandum dated September 5, 2024 (“Second Plan Preview of 2025 Part C and D
Star Ratings Data”), HMO Louisiana, Inc. (“HMOLA”) is providing notice of three (3) calculation errors
identified in the Second Plan Preview STAR Ratings for its contract H6453. These calculation errors
impact HMOLA’s contract H6453, which is the surviving contract following a consolidation in 2024, and
result from the failure to account for data from the consumed contract (H5576). These errors include:

        1) HMOLA was unable to submit relevant measurement information data relating to D11:
        “MTM Program Completion Rate for CMR,” which data would have resulted in an
        increase of this measure from 92% (4 Stars) to 95% (5 Stars).

        2) HMOLA was unable to submit relevant measurement information data relating to C05:
        “Special Needs Plan (SNP) Care Management,” which data would have resulted in an
        increase of this measure from No Star Rating to 96% (5 Stars).

        3) The Categorical Adjustment Index (“CAI”) applied to HMOLA’s contract (H6453)
        failed to account for enrollment data across all contracts that had been consolidated into
        the surviving contract. Had the enrollment data been properly applied, the CAI applied to
        HMOLA’s contract would have changed from -0.033597 to 0.002506.

The current STAR rating for HMOLA’s contract (H6453) is 3.74957 (3.5 Stars). If the above errors are
corrected, the new adjusted rating for the contract would increase to 3.80839 (4.0 Stars). Notably, the
correction of even one (1) of these errors would result in an increase of HMOLA’s final STAR Rating from
a 3.5 to a 4.0. Therefore, if not corrected, these errors would result in a material financial impact to HMOLA
in terms of loss of additional STAR quality bonus payments, which may result in fewer benefits and higher
costs for members in future years. Attached to this correspondence is an Appendix that details the
calculation errors and the effect on the overall STAR Rating.

While we provided you with the additional information in the accompanying Appendix (including the data
for measurements D11 and C05) that evidence the calculation errors, we believe the summary below
provides all of the information necessary for CMS to understand the errors we have identified and correct
them prior to finalization of CY 2025 STAR Ratings data.

History of Contract H6453

Louisiana Health Service & Indemnity Company d/b/a Blue Cross and Blue Shield of Louisiana
(“BCBSLA”) is the parent company to HMOLA. Prior to 2024, BCBSLA and/or its subsidiaries offered
products under the following H-Contracts:


            •   Vantage Health Plan, Inc. offered a MA HMO-POS product under H5576 contract

            •   HMOLA offered a MA HMO product under H6453 contract
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            •   BCBSLA offered a MA PPO product under H1248 contract

            •   Primewell Health Services of Mississippi, Inc. offered a MA HMO-POS product under
                H7163 contract

            •   Primewell Health Services of Arkansas, Inc. offered a MA HMO-POS product under
                H2722 contract

Effective January 1, 2024, BCBSLA consolidated contracts H5576 (offered by Vantage Health Plan, Inc.)
and H6453 (offered by HMOLA), with HMOLA’s contract H6453 as the surviving contract. Contracts
H1248 (BCBSLA), H7163 (Primewell Health Services of Mississippi, Inc.), and H2722 (Primewell Health
Services of Arkansas, Inc.) remain active and were not affected by the consolidation. HMOLA’s contract
H6453 is only contract at issue for the purposes of this communication. The consolidation of contracts
H5576 (the consumed contract) and H6453 (the surviving contract) directly led to the calculation errors
noted above.

Errors # 1 and 2: Failure to Consider Relevant Data for Measures D11 and C05

When contracts are consolidated, the STAR Rating for the surviving contract for the first year after
consolidation is determined through the enrollment-weighted average of the measures of both the consumed
contract and the surviving contract for all measures except improvement measures. Both the regulation
addressing STAR Ratings following contract consolidations as well as current technical instructions for
STAR Ratings contain this requirement that data from both contracts be included for the first two years
following a contract consolidation. See 42 CFR § 422.162(b)(3)(ii); Medicare 2025 Part C & D Star Ratings
Technical Notes, Appendix B, p. 115 (Draft) (Sept. 4, 2024) (“Technical Notes”). Thus, to accurately
calculate the STAR Rating for contract H6453, CMS must include data from both contract H5576 and
H6453 in its calculations. However, only data from HH6453 was considered in the calculation of D11 and
C05.

Despite its relevance to the STAR Rating calculation for the surviving contract, HMOLA was unable to
submit data for two measures for contract H5576 due to a technical issue with HPMS. Specifically,
HMOLA was unable was able to submit measurement information relating to measurements D11 “MTM
Program Completion Rate for CMR” and C05 “Special Needs Plan (SNP) Care,” both of which are process
measures. HMOLA was only able to submit information for these measures for contract H6453. As such,
CMS used only partial information for these measures and, in doing so, failed to adhere to its own
regulations. Again, had the relevant data been submitted relating to contract H5576, HMOLA’s score for
D11 would be 95%/5 Stars (as opposed to the calculated 92%/4 Stars), and HMOLA’s score for C05 would
be 96%/5 Stars (as opposed to the calculated No Star Rating). Both the regulations governing contract
consolidation and CMS’s Technical Notes require CMS to include all relevant data for the consumed
contract when calculating the STAR Rating for the surviving contract. Accordingly, HMOLA requests that
CMS recalculate the measure values for contract H6453 using data for measurements D11 and C05 for
contract H5576.

Error # 3: Incorrect Calculation of CAI

The consolidation of contracts H5576 and H6453 also led to an incorrect calculation of the CAI for
HMOLA contract H6453. The regulation governing application of the CAI states that, for the first two
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years following a consolidation, CMS determines the CAI using enrollment data from both the surviving
and consumed contracts in the consolidation. 42 CFR § 422.166(f)(2)(i)(B)(1). This requirement was
added to the regulation in April 2024, and the text of the regulation indicates that it became effective
immediately. This is in contrast to the language addressing the calculation of the HEI reward following
contract consolidation, which the regulation specifies will go into effect beginning with the 2027 STAR
Ratings year. 42 CFR § 422.166(f)(2). 1 In the case of the CAI, there is nothing in the text of the regulation
that suggests that the methodology for applying the CAI following a contract consolidation should not go
into effect immediately. See SCAN Health Plan v. Dep’t of Health and Human Services, No. 1:23-cv-03910-
CJN, Dkt. No. 33 (D.D.C. June 3, 2024) (“[T]he real dividing point between the portions of a final rule
with and without legal force is designation for publication in the Code of Federal Regulations” (citation
omitted).).

To comply with the requirements in Section 422.166(f)(2), CMS must include in its CAI calculation the
enrollment data from the consumed contract regarding beneficiaries who are dually eligible, receive the
low-income subsidy, or have disability status. Using enrollment data from both the surviving and the
consolidated contracts to determine the CAI adjustment factor is consistent with how CMS assesses plan
performance in other contexts following a contract consolidation. As noted above, the regulations require
CMS to combine measure-level data between contracts in the first two years following a consolidation.
The purpose of this approach is to obtain a complete representation of plan performance when calculating
STAR Ratings. Calculating a weighted average of performance data across contracts appropriately
represents consolidated performance.

Prior to the April 2024 amendments, Section 422.166 did not address how to calculate the CAI adjustment
factor after a contract consolidation. The Technical Notes are also silent on this issue. In the absence of a
specific exception made for the calculation of the CAI adjustment factor, the default rule of weighing data
from both the consumed and surviving contracts (as reflected in Section 422.162) should have applied to
the current calculation of HMOLA’s CAI, in compliance with the specific requirement in Section
422.166(f)(2). Accordingly, HMOLA requests that CMS recalculate the CAI factor for contract H6453
using enrollment data for contract H6453 and contract H5576. 2

Please contact us if you believe any further information is necessary or if you are unable to validate these
errors. We are happy to answer any questions you may have related to any of these issues. Otherwise, we
thank you for your review and consideration and look forward to your response.



Sheldon Faulk, JD, MBA
SVP and COO, Government Business
Louisiana Blue


1
 Similarly, when CMS changed the weights given to certain measures, it amended the regulation to specify that the
new weights would go into effect starting with the 2026 STAR Ratings year. 42 CFR § 422.166(e)(1)(iii)-(iv).
2
  In the alternative, CMS has the authority, in the absence of any regulatory requirement to the contrary, to calculate
the CAI in this manner following a consolidation. In light of the limited number of consolidations that occur in any
given year, this rule could easily be applied to any other similarly situated organizations. For CMS to take the
alternative approach for CY 2025 STAR Ratings, after already articulating that this was the “more accurate” approach,
would be arbitrary and capricious.
